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                        UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA
                                          Civil Minutes


 Date: May 15, 2025                                                   Judge: Hon. James Donato

 Time: 11 Minutes

 Case No.        3:24-cv-06507-JD
 Case Name       Figma, Inc. v. Motiff Pte. Ltd. et al

 Attorney(s) for Plaintiff(s):    Richard Hung/Bita Rahebi/John Douglass/Jonathan Morris/
                                  Brendan Mulligan/Kelsey McPherson/Laura Markuse
 Attorney(s) for Defendant(s):    Samuel Tiu/Mike Bettinger

 Deputy Clerk: Lisa R. Clark                                            Court Reporter: Ana Dub

                                         PROCEEDINGS

Motion Hearing -- Held

                                     NOTES AND ORDERS

Plaintiff’s request for a preliminary injunction is held in abeyance. An expedited jury trial is set
for August 18, 2025. The parties will file by May 20, 2025, a joint statement confirming the trial
date. A pretrial conference is set for August 7, 2025, at 1:30 p.m. in Courtroom 11. All
remaining fact and expert witness discovery must be completed by July 14, 2025. FRE 702
motions must be filed by July 21, 2025. Opening and opposition briefs may not exceed 10
pages. Replies may not be filed unless requested by the Court. Exhibits and declarations should
be filed sparingly and may not exceed 25 pages in total. Because trial is expedited, the Court
does not anticipate summary judgment or other dispositive motions.




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